                  Case 1:24-pt-00001-PLM ECF No. 1, PageID.1 Filed 01/08/24 Page 1 of 1
                                                                 UNITED STATES GOVERNMENT
       DATE:     1/8/2024                                                             memorandum
     REPLY TO

      ATTN OF:
                 Emily

      SUBJECT:   Possibly Related Case
                 Case No.:1:24-pt-1
                 Case Title: USA v. Joseph Anthony Raphael
          TO:    Magistrate Judge Kent




               Probation
           The United    Office
                      States Attorney indicates this case is related to the case(s) listed below:
           Judge Paul L. Maloney                          Docket number 1:17-cr-211
                                                          Docket number
                                                          Docket number


          Pursuant to Local Criminal Rule 56.5(d)(i), CRIMINAL CASES ARE DEEMED RELATED WHEN:


                 (1)      a superseding indictment or information has been filed
                 (2)      any other indictment or information is pending against the same defendant(s)
                 (3)      an indictment is returned against a defendant who is then on probation to a judge, provided the new
                          case involves only the same defendant


                        X Case is related              Case is not related


           COMMENTS BY MAGISTRATE JUDGE: This probation transfer case from the Eastern District
            of Michigan is related to the 2017 WDMI case in that sentencing in the probation transfer case is

           consecutive to sentencing in the 2017 WDMI case.


          Dated: January 8, 2024
                                                                                Signature                               10/03
                                                                                                                            6/98
                                                                   Ray Kent
                                                                   United States Magistrate Judge


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                   Direct assignment performed
                                                                     Initials                   Date
                       Random assignment performed
